              Case 24-11649-CTG         Doc 821      Filed 10/17/24       Page 1 of 11




                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

In re:                                           Chapter 11

SUNPOWER CORPORATION et al., 1                   Case No. 24-11649 (CTG)

                 Debtors.                        (Jointly Administered)

                                                 Re: Docket No. 787

                                                 Hearing Date: October 18, 2024 at 2:30
                                                 p.m. (ET)
                                                 Obj. Deadline: October 15, 2024 at noon
                                                 (ET)




    UNITED STATES TRUSTEE’S SUPPLEMENTAL OBJECTION TO THE COMBINED
        DISCLOSURE STATEMENT AND PLAN OF REORGANIZATION AND/OR
                        LIQUIDATION FOR DEBTORS

         The United States Trustee (the “U.S. Trustee”), by and through counsel, in furtherance of

his duties and responsibilities under 28 U.S.C. § 586(a)(3) and (5), hereby submits this

supplemental objection (the “Supplemental Objection”) to his Objection to the Confirmation of

the Plan and Supplement to the United States Trustee’s Omnibus Objection to (A) the Disclosure

Statement for the Joint Chapter 11 Plan of SunPower Corporation and its Debtor Affiliates and

(B) the Motion of Debtors for Entry of an Order (I) Approving the Adequacy of the Disclosure

Statement, (II) Scheduling a Plan Confirmation Hearing and Setting Dates and Deadlines and

Shortening Notice with Respect Thereto, (III) Approving the Solicitation Packages and Notice



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: SunPower Corporation (8969); SunPower Corporation, Systems (8962);
SunPower Capital, LLC (8450); SunPower Capital Services, LLC (9910); SunPower HoldCo, LLC (0454);
SunPower North America, LLC (0194); Blue Raven Solar, LLC (3692); Blue Raven Solar Holdings, LLC
(4577); BRS Field Ops, LLC (2370); and Falcon Acquisition HoldCo, Inc. (3335). The location of the
Debtors’ service address for purposes of these chapter 11 cases is: 880 Harbour Way South, Suite 600,
Richmond, CA 94804.


                                             1
               Case 24-11649-CTG             Doc 821       Filed 10/17/24        Page 2 of 11




Procedures, (IV) Approving the Forms of Ballots and Notices in Connection Therewith, and (V)

Granting Related Relief (the “Plan”) [D.I. 787], 2 and respectfully states:

                                    PRELIMINARY STATEMENT

        1.       This supplemental objection addresses the most recently-filed version of the Plan

and, specifically, its objectionable financial reporting and statutory fee payment provision. The

financial reporting and statutory fee payment provision fails to state that the Creditor Trust will

carry out all of the standard reporting and fee payment duties required of post-confirmation entities

and, as such, the Plan cannot be confirmed in its present form.

                                  JURISDICTION AND STANDING

        2.       This Court has jurisdiction under 28 U.S.C. §§ 157(a) and (b) to hear and determine

this Supplemental Objection.

        3.       Pursuant to 28 U.S.C. § 586, the U.S. Trustee is charged with the administrative

oversight of cases commenced under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). This duty is part of the U.S. Trustee’s overarching responsibility to enforce

the laws as written by Congress and interpreted by the courts. See Morgenstern v. Revco D.S., Inc.

(In re Revco D.S., Inc.), 898 F.2d 498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a

“watchdog”).

        4.       Pursuant to 28 U.S.C. § 586(a)(3)(B), the U.S. Trustee has the duty to monitor and

comment on plans and disclosure statements filed in chapter 11 cases.

        5.       Pursuant to 11 U.S.C. § 307, the U.S. Trustee has standing to be heard regarding

this Supplemental Objection. United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia




2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan or referenced
document or pleading.

                                                   2
              Case 24-11649-CTG         Doc 821     Filed 10/17/24     Page 3 of 11




Gas Sys., Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (the U.S. Trustee has “public interest standing”

under section 307, which goes beyond mere pecuniary interest).

                                        BACKGROUND

        6.      On September 30, 2024, the Debtors filed the solicitation version of the Plan. The

deadline set for filing objections to the Plan was October 15, 2024.

        7.      On October 15, 2024, the U.S. Trustee filed his Objection to Confirmation of the

Plan and Supplement to the United States Trustee’s Omnibus Objection to (A) the Disclosure

Statement for the Joint Chapter 11 Plan of SunPower Corporation and its Debtor Affiliates and

(B) the Motion of Debtors for Entry of an Order (I) Approving the Adequacy of the Disclosure

Statement, (II) Scheduling a Plan Confirmation Hearing and Setting Dates and Deadlines and

Shortening Notice with Respect Thereto, (III) Approving the Solicitation Packages and Notice

Procedures, (IV) Approving the Forms of Ballots and Notices in Connection Therewith, and (V)

Granting Related Relief [D.I. 787].

        8.      Early in the morning of October 15, 2024, the Debtors filed the Amended Joint

Chapter 11 Plan of SunPower Corporation and its Debtor Affiliates (the “Amended Plan”) [D.I.

784].

        9.      The Amended Plan contained a new Article X entitled “Creditor Trust” that

augmented provisions concerning a creditor trust in the prior version of the Plan and outlined the

creation of a new creditor trust construct. Among the provisions in Article X concerning the new

Creditor Trust are that:

    •   After the Effective Date, neither the Debtors, Wind-Down Debtors, nor any
        other party shall have any interest in the Creditor Trust Assets except as
        expressly set forth herein. Amended Plan Art. X. A.

    •   The Creditor Trust shall be administered by the Creditor Trustee and
        governed by the Creditor Trust Agreement, and the Creditor Trustee shall

                                             3
             Case 24-11649-CTG         Doc 821      Filed 10/17/24     Page 4 of 11




       have the sole power and authority to distribute the Creditor Trust Net Assets
       to Holders of Allowed Claims in accordance with the Creditor Trust
       Recovery and treatment set forth in Article III.B of the Plan. Id.

   •   The Creditor Trust shall be established for the purpose of liquidating the
       Creditor Trust Assets, reconciling and objecting, if necessary, to disputed
       General Unsecured Claims, and distributing the Creditor Trust Net Assets
       to the Creditor Trust Beneficiaries in accordance with the terms of the Plan
       (including the Creditor Trust Recovery) and Creditor Trust Agreement.
       Amended Plan Art. X. B

       10.    In addition, as part of the Creditor Trust construct, the Amended Plan provides the

following defined terms:

   •   “Creditor Trust” means the liquidating bankruptcy trust established on the
       Effective Date for the benefit of the Creditor Trust Beneficiaries in
       accordance with Article X of the Plan and the Creditor Trust Agreement.
       Amended Plan at Art. I.A.39.

   •   Creditor Trust Assets” means, collectively, (a) the Creditor Trust Claims;
       and (b) the Creditor Trust Cash. Amended Plan at Art. I.A.41.

   •   “Creditor Trust Beneficial Interest” means the non-certified beneficial
       interest in the Creditor Trust granted to each Creditor Trust Beneficiary,
       which shall entitle such Holder to distributions of the Creditor Trust Net
       Assets in accordance with the Creditor Trust Recovery. Amended Plan at
       Art. I.A.42.

   •   “Creditor Trust Beneficiary” means Holders of Allowed General Unsecured
       Claims and, solely with respect to the Creditor Trust First Lien Amount,
       Holders of Allowed Prepetition First Lien Secured Claims. Amended Plan
       at Art. I.A.43.

   •   “Creditor Trust Cash” means the sum of (a) $1,000,000 of Available Cash
       and (b) any remaining funds from the Wind-Down Amount or the Data
       Preservation Funds following the completion of the Wind-Down and
       dissolution of the Wind-Down Debtors. Amended Plan at Art. I.A. 44.

   •   “Creditor Trust Claims” means the Retained Causes of Action; provided
       that the Wind-Down Debtors shall retain all GUC Avoidance Actions
       against each Entity that owes any money to any Debtor or Wind-Down
       Debtor (and such GUC Avoidance Action shall not be a Creditor Trust
       Claim) unless and until such Entity has paid the full amount owed to the
       Debtor or Wind-Down Debtor in Cash (or such other amount or treatment
       that the Plan Administrator agrees, in the Plan Administrator’s sole

                                            4
         Case 24-11649-CTG          Doc 821      Filed 10/17/24     Page 5 of 11




    discretion), at which point such GUC Avoidance Action shall be a Creditor
    Trust Claim. Amended Plan at Art. I.A.45.

•   “Creditor Trust Fees and Expenses” means all reasonable and documented
    fees, expenses, and costs (including any taxes imposed on or payable by the
    Creditor Trust or in respect of the Creditor Trust Assets) incurred by the
    Creditor Trust, any professional retained by the Creditor Trust (including,
    without limitation, attorneys, accountants, distribution agents, experts, or
    otherwise), and any additional amount determined necessary by the Creditor
    Trustee necessary to adequately reserve for the operating expenses of the
    Creditor Trust. Amended Plan at Art. I.A.46.

•   “Creditor Trust Recovery” means, the allocation and payment by the
    Creditor Trustee of Creditor Trust Net Assets realized from the proceeds of
    Creditor Trust Claims (a) first, 75% to the Holders of Allowed Prepetition
    First Lien Secured Claims and 25% to the Holders of all Allowed General
    Unsecured Claims (excluding Allowed Prepetition First Lien Deficiency
    Claims but including any Allowed Prepetition Second Lien Deficiency
    Claims) until the Holders of Allowed Prepetition First Lien Secured Claims
    have received Cash distributions from the Creditor Trust Net Assets equal
    to the Creditor Trust First Lien Amount; provided further, however, that the
    foregoing allocation shall not apply to the proceeds of Creditor Trust Claims
    that are GUC Avoidance Actions, which proceeds, if any, of Creditor Trust
    Claims that are GUC Avoidance Actions shall be allocated and paid 100%
    to the Holders of all Allowed General Unsecured Claims (including
    Allowed Prepetition First Lien Deficiency Claims and any Allowed
    Prepetition Second Lien Deficiency Claims) and (b) second, following
    satisfaction of the Creditor Trust First Lien Amount, Pro Rata to the Holders
    of Allowed General Unsecured Claims (including Allowed Prepetition First
    Lien Deficiency Claims and Allowed Prepetition Second Lien Deficiency
    Claims). Amended Plan at Art. I.A.48.

•   “Creditor Trust First Lien Amount” means the sum of (a) the Post-Effective
    Date Funding Amount and (b) the amount, if any, of Allowed Professional
    Fee Claims of the Committee’s Professionals in excess of $2,560,000.
    Amended Plan at Art. I.A.49.

•   “Creditor Trustee” means the bankruptcy trustee of the Creditor Trust
    appointed to administer the Creditor Trust pursuant to the Creditor Trust
    Agreement. The identity of the Creditor Trustee shall be chosen by the
    Committee in accordance with the Creditor Trust Agreement and shall be
    filed with the Plan Supplement. Amended Plan at Art. I.A.50.

•   “Post-Effective Date Funding Amount” means the sum of the Creditor Trust
    Cash, the Wind-Down Amount, and the Data Preservation Costs; provided,


                                         5
              Case 24-11649-CTG            Doc 821      Filed 10/17/24       Page 6 of 11




        however that the Post-Effective Date Funding Amount shall not exceed
        $4,000,000. Amended Plan at Art. I.A.104.

        11.     Article XIII.C. of the Amended Plan states that with respect to the payment of fees

under 28 U.S.C. § 1930(a)(6) (the “Quarterly Fees”) and the filing of reports under Fed. R. Bankr.

P. 2015. 3

        Quarterly Fees due and payable prior to the Effective Date shall be paid by
        the Debtors on the Effective Date. After the Effective Date, the Wind-Down
        Debtors or any entity making disbursements on behalf of any of the Wind-
        Down Debtors, or making disbursements on account of an obligation of any
        Debtor or Wind-Down Debtor (each, a “Disbursing Entity”), shall be liable
        to pay any and all Quarterly Fees when due and payable. The Debtors shall
        file with the Bankruptcy Court all monthly operating reports due prior to
        the Effective Date when they become due, using UST Form 11-MOR. After
        the Effective Date, the Wind-Down Debtors, on behalf of themselves, or
        any entity making disbursements on behalf of the Wind-Down Debtors,
        shall file with the Bankruptcy Court separate UST Form 11-PCR reports
        when they become due. Each and every one of the Debtors, the Wind-Down
        Debtors, and the Disbursing Entities shall remain obligated to pay Quarterly
        Fees to the Office of the U.S. Trustee until the earliest of that particular
        Debtor’s case being closed, dismissed, or converted to a case under Chapter
        7 of the Bankruptcy Code. The U.S. Trustee shall not be required to file any
        Administrative Claim in the case, and shall not be treated as providing any
        release under the Plan.

Amended Plan Art. XIII.C.

                                             ARGUMENT

I.     Confirmation Standard

        12.     A chapter 11 plan cannot be confirmed unless this Court finds the plan complies

with the provisions of 11 U.S.C. § 1129(a). See In re Greate Bay Hotel & Casino, Inc., 251 B.R.

213, 220-21 (Bankr. D.N.J. 2000). A plan proponent bears the burden of proof with respect to


3
  Fed. R. Bankr. P. 2105(a)(5) provides that “in a chapter 11 reorganization case (other than under
subchapter V), on or before the last day of the month after each calendar quarter during which there is a
duty to pay fees under 28 U.S.C. § 1930(a)(6), file and transmit to the United States trustee a statement of
any disbursements made during that quarter and of any fees payable under 28 U.S.C. § 1930(a)(6), for that
quarter; . . .”


                                                 6
             Case 24-11649-CTG          Doc 821      Filed 10/17/24     Page 7 of 11




each element of section 1129(a). See In re Genesis Health Ventures, Inc., 266 B.R. 591, 599

(Bankr. D. Del. 2001).

       13.     Any reorganized debtor, post-effective date debtor, liquidating trust and litigating

trust are required to pay U.S. Trustee Quarterly Fees until the cases are closed, converted, or

dismissed. Pursuant to 28 U.S.C. § 1930(a)(6), quarterly fees on disbursements must be paid in

every open Chapter 11 case. See United States Trustee v. CF & I Fabricators of Utah, Inc. (In re

CF & I Fabricators of Utah, Inc.), 150 F.3d 1233 (10th Cir. 1998); Genesis Health Ventures, Inc.

v. Stapleton (In re Genesis Health Ventures, Inc.), 402 F.3d 416, 418 (3d Cir. 2005) (where the

Third Circuit affirmed the lower court holdings and held each debtor was obligated to pay quarterly

fees based on the payment of its respective operating expenses regardless of whether it actually

wrote the checks to pay for these expenses). See also, In re Charter Behavioral Health Sys., LLC,

292 B.R. 36 (Walrath J.) (Bankr. D. Del. 2003); In re Kindred Healthcare, Inc., 2003 WL

22327933 (Bankr. D. Del. 2003). “Payments made on behalf of a debtor, whether made directly or

indirectly through centralized disbursing accounts, constitute that particular debtor’s

disbursements for the purpose of quarterly fees calculations under § 1930(a)(6).” In re Genesis

Health Ventures, Inc. 402 F. 3d 416 (3d Cir. 2005). See also, Cash Cow Servs. of Fla. LLC v.

United States Trustee (In re Cash Cow Servs. of Fla. LLC), 296 F.3d 1261, 1263 (11th Cir. 2002),

cert. denied, 537 U.S. 1161, 123 S. Ct. 979 (2003) (holding by the Eleventh Circuit Court of

Appeals that consumer loans made by the debtor were “disbursements” within the meaning of 28

U.S.C. § 1930(a)(6) and therefore subject to the payment of U.S. Trustee Quarterly Fees).

       14.     The payment of Quarterly Fees is mandatory in every case from the quarter in

which the petition is filed until the quarter in which the case is closed pursuant to a final decree.

See United States Trustee v. Gryphon at the Stone Mansion, Inc., 166 F.3d 552, 554 (3d Cir. 1999).



                                              7
               Case 24-11649-CTG           Doc 821       Filed 10/17/24       Page 8 of 11




        15.     As the U.S. Trustee Quarterly Fee owed in a particular quarter is determined solely

by operation of statute, it is not subject to the agreement of the parties, nor is it subject to

adjustment by the courts. See, e.g., Walton v. Jamko, Inc. (In re Jamko, Inc.), 240 F.3d 1312, 1314

(11th Cir. 2001) (noting that calculation of Quarterly Fees is mandated by statute); Jorgenson v.

Schwartz (In re Wilko Machine Co.), No. 97-55937, 1997 WL 77963 (9th Cir. Feb. 4, 1997); Office

of the U.S. Trustee v. Hays Builders, Inc. (In re Hays Builders, Inc.), 144 B.R. 778, 779 (W.D.

Tenn. 1992).

        16.     Courts have routinely rejected the argument that a liquidation trust is not

responsible for paying post-confirmation quarterly fees. 4 For example, in U.S. Trustee v. Hudson

Oil Co. (In re Hudson Oil Co.), 210 B.R. 380, 383 (D. Kan. 1997), the district court “reject[ed]

the argument that . . . the liquidating trust established under the confirmed plan has no

responsibility for the fees imposed” under section 1930(a)(6). Id. at 383. Although the district

court reversed for other reasons, it noted that the bankruptcy court had also rejected the liquidating

trust’s argument because, among other reasons, “the trust [was] a liquidating and disbursing agent

for the debtors” and was “subject to continuing bankruptcy court supervision.” Id. at 384, n.3.

        17.     Similarly, in In re Atna Resources, Inc., 576 B.R. 214 (Bankr. D. Colo. 2017), the

bankruptcy court was presented with “a liquidating trustee, whose sole existence flow[ed] from

the debtors and their assets, liabilities, and confirmation of their Chapter 11 bankruptcy cases,

[who sought] to avoid payment of post-confirmation [quarterly] fees[.]” Id. at. 216. The court

held that the liquidating trust was liable for payment of post-confirmation quarterly fees under the




4
  In In re JNL Funding Corp., 620 B.R. 25 (Bankr. E.D.N.Y. 2020), the bankruptcy court ordered a
liquidating trustee to disgorge an amount equal to the quarterly fees he had failed to pay while the case was
in chapter 11. See id. at 29-30.

                                                 8
              Case 24-11649-CTG            Doc 821      Filed 10/17/24       Page 9 of 11




language of section 1930(a)(6) and the provisions of the debtors’ plan, “even without an express

provision requiring the Trust to pay the statutory fee.” Id. at 218-20.

        18.     Likewise, in In re CSC Industries, Inc., 226 B.R. 402 (Bankr. N.D. Ohio 1998), the

bankruptcy court held that “the Liquidation Trustee [was] responsible to pay post-confirmation

quarterly fees out of the Liquidation Trust” because “Congress intend[ed] such fees be paid by

Chapter 11 debtors prior to conversion or dismissal,” and “the Liquidation Trust ha[d] essentially

stepped into the shoes of the original debtor and [was] therefore liable for any such fees which

may be imposed” post-confirmation. Id. at 404.

        19.     In In re Home Centers, Inc., 232 B.R. 680 (Bankr. N.D. Ohio 1997), as here, the

debtor “turned over all of its tangible and intangible assets” to a liquidating trust that was created

to make distributions required by the plan. Id. at 683. The bankruptcy court held that, since the

liquidating trust “was created solely to collect and liquidate the assets of the Debtor in order to

disburse the funds to the creditors,” the court “c[ould] find no other meaningful interpretation” of

section 1930(a)(6) other than to hold that the liquidating trust was responsible for paying post-

confirmation quarterly fees. Id. at 683-84.

        20.     All post-confirmation payments of the Creditor Trust, along with those of the

Debtors and Wind-Down Debtors, must be included in calculating the quarterly fee mandated by

section 1930(a)(6). In order to calculate such quarterly fees, all post-confirmation entities under

the Amended Plan must file post-confirmation quarterly reports disclosing their disbursements.

See 28 U.S.C. § 589b and 28 C.F.R. § 58.8 (2020). 5


5
  In 28 U.S.C. § 589b, Congress directed the Attorney General to “issue rules requiring uniform forms for
(and from time to time thereafter to appropriately modify and approve) . . . periodic reports by debtors in
possession or trustees in cases under chapter 11 of title 11.” 28 U.S.C. § 589b(a)(2). Congress has further
directed that the information required to be reported in periodic reports filed after plan confirmation
includes, “by class, the recoveries of the holders, expressed in aggregate dollar values and, in the case of
claims, as a percentage of total claims of the class allowed.” 28 U.S.C. § 589b(e)(7). Pursuant to 28 U.S.C.

                                                 9
             Case 24-11649-CTG         Doc 821          Filed 10/17/24   Page 10 of 11




       21.     Despite making disbursements, the Amended Plan fails to require that the Creditor

Trust to pay Quarterly Fees or to file post-confirmation quarterly reports (“UST Form 11-PCR”).

Although the Debtors and Wind-Down Debtors will pay Quarterly Fees, the Creditor Trust will be

making disbursements but will not be required to pay a Quarterly Fee or to file the UST Form 11-

PCR.

       22.     What is quite clear, however, is that Congress has “mandated” under 28 U.S.C. §

1930(a)(6) that such fees be paid, not only up to confirmation but also post-confirmation up to the

Effective Date and beyond until such time as the Debtors’ cases are dismissed, converted to another

chapter, or closed by final decree. Gryphon at the Stone Mansion, 166 F.3d at 557. As a result,

the Plan must be amended to obligate all parties making disbursements, including the Creditor

Trust for the payment of all Quarterly Fees in these cases.

       23.     The U.S. Trustee leaves the Debtors to their burden of proof and reserves any and

all rights, remedies and obligations to, among other things, complement, supplement, augment,

alter or modify this Objection and reservation of rights, assert any objection, file any appropriate

motion, or conduct any and all discovery as may be deemed necessary or as may be required and

to assert such other grounds as may become apparent upon further factual discovery.




                                                  ***




§ 589b and the Attorney General’s subsequent directive, the U.S. Trustee promulgated 28 C.F.R. § 58.8
(2020) and created UST Form 11-PCR for post-confirmation reporting. Part 3 of UST Form 11-PCR seeks
information regarding recoveries under a plan for various classes of claims.


                                             10
             Case 24-11649-CTG        Doc 821    Filed 10/17/24       Page 11 of 11




       WHEREFORE, the U.S. Trustee respectfully requests that the Court enter an order or

orders: (i) denying final approval of the Disclosure Statement; (ii) denying confirmation of the

Amended Plan; and (iii) granting such other and further relief as the Court deems just and

equitable.

Dated: October 17, 2024                     Respectfully submitted,

                                            ANDREW R. VARA
                                            UNITED STATES TRUSTEE
                                            REGIONS 3 AND 9

                                       By: /s/ Richard L. Schepacarter
                                           Richard L. Schepacarter
                                           Trial Attorney
                                           United States Department of Justice
                                           Office of the United States Trustee
                                           J. Caleb Boggs Federal Building
                                           844 King Street, Room 2207, Lockbox 35
                                           Wilmington, DE 19801
                                           Tel: (302) 573-6491
                                           Email: Richard.Schepacarter@usdoj.gov




                                           11
